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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

JENNIFER MCCAMBRIDGE,                                       CASE NO.:

        Plaintiff,

vs.

COMENITY CAPITAL BANK,                                      DEMAND FOR JURY TRIAL

       Defendant.
__________________________________/

                                         COMPLAINT

        COMES NOW, Plaintiff, JENNIFER MCCAMBRIDGE (hereafter “Plaintiff”), by and

through undersigned counsel, and hereby sues Defendant, COMENITY CAPITAL BANK,

(hereafter “Defendant”), and states as follows:

                               PRELIMINARY STATEMENT

         This action arises out of Defendant’s violations of the Florida Consumer Collection

Practices Act, Florida Statute §§ 559.55 et seq. (hereafter the “FCCPA”) and the Telephone

Consumer Protection Act, 47 U.S.C. §§ 227 et seq. (hereafter the “TCPA”).

                                 GENERAL ALLEGATIONS

       1.      Plaintiff is an individual residing in HILLSBOROUGH County, Florida.

       2.      This is an action for damages greater than $15,000.00.

       3.      Defendant is a foreign limited liability company as registered with the Florida

Department of State, Division of Corporations and does business throughout the state of Florida,

including HILLSBOROUGH County, Florida.

       4.      Defendant is a “person” subject to regulations under Fla. Stat. § 559.72 and 47

U.S.C. § 227(b)(1).
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       5.      The debt is a “consumer debt” as defined by the FCCPA, Fla. Stat. §559.55(6).

                                  FACTUAL ALLEGATIONS

       7.      It is alleged by Defendant that Plaintiff owes debts to Defendant relating to a Pier

1 Imports Account and Paypal Account, Account Nos. ending in – 0096 and – 7249 respectively.

       8.      Plaintiff revoked any prior express consent to contact Plaintiff via cell phone or

any other form of communication on January 14, 2016 at 5:51 p.m. and 5:55 p.m., through a

facsimile transmission to Defendant’s facsimile no. 614-729-3117. See facsimile confirmation

attached as Exhibit “A.”

       9.      On or about January 22, 2016, Defendant sent correspondence to Plaintiff

confirming the recent contact letter concerning her account and advising that Defendant removed

Plaintiff’s cell phone number. See Exhibit “B.”

       10.     Plaintiff’s cellular telephone number ends in - 7510.

       11.     Defendant knowingly or willfully called Plaintiff’s cellular telephone after

Defendant had unequivocal notice from Plaintiff to cease any and all calls.

       12.     Defendant knowingly or willfully called Plaintiff’s cellular telephone after

Defendant had unequivocal notice that Plaintiff was represented by an attorney and could readily

ascertain the Firm’s contact information.

       13.     Defendant used an automatic telephone dialing system or an artificial or

prerecorded voice to place telephone calls to Plaintiff’s cellular telephone on the following dates

and times listed on the call logs of Plaintiff attached as Exhibit “C.”

       14.     Defendant placed calls to Plaintiff’s cellular telephone that included delays in

time before the telephone call was transferred to a representative to speak.




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         15.   Plaintiff did not speak with a representative during the phone calls placed by

Defendant because there was no representative on the telephone call that spoke or attempted to

communicate with Plaintiff after Plaintiff answered the telephone call.

         16.   Defendant left messages on Plaintiff’s cellular telephones that started with a delay

in time before the representative joined the line to leave a message.

         17.   Some of the voicemail messages received by Plaintiff on her cellular telephone

from Defendant sounded like a pre-recorded voice requesting a return call from Plaintiff.

         18.   Additionally, Defendant called Plaintiff’s place of work without prior consent to

do so.

         19.   Plaintiff did not initiate any communications to Defendant.

         20.   Plaintiff’s attorney did not fail to respond within a reasonable period of time to

any communication from Defendant, did not consent to Defendant’s direct communication with

Plaintiff, and Plaintiff did not initiate any communications.

         21.   None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. § 227 (b)(1)(A).

         22.   None of Defendant’s telephone calls placed to Plaintiff were made with Plaintiff’s

“prior express consent” as specified in 47 U.S.C. § 227 (b)(1)(A).

         23.   All conditions precedent to the filing of this lawsuit have been performed or have

occurred.

                                    COUNT I
                   VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(7)

         24.   Plaintiff incorporates all allegations in paragraphs 1-23 as if stated fully herein.

         25.   Jurisdiction is proper pursuant to Florida Statute § 559.77(1).




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       26.      Defendant violated Florida Statute § 559.72(7) when it willfully communicated

with the Plaintiff with such frequency as can reasonably be expected to abuse or harass Plaintiff.

       27.      Specifically, Defendant continued to make numerous telephone calls to Plaintiff’s

cellular telephone after being notified to no longer call Plaintiff through any means.

                WHEREFORE, Plaintiff, JENNIFER MCCAMBRIDGE, demands judgment

against Defendant, COMENITY CAPITAL BANK, for the following relief:

                a.      any actual damages sustained by Plaintiff as a result of the above

allegations;

                b.      statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

$1,000.00;

                c.      pursuant to §559.77(2), any specific or injunctive relief necessary to make

Plaintiff whole;

                d.      in the case of a successful action sustaining the liability of Defendant,

pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attorney’s fees incurred by Plaintiff; and

               e.       any other relief the Court deems just and proper.

                                      COUNT II
                     VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(17)

       28.      Plaintiff incorporates all allegations in paragraphs 1-23 as if stated fully herein.

       29.      Jurisdiction is proper pursuant to Florida Statute § 559.77(1).

       30.      Defendant violated the FCCPA, Fla. Stat. § 559.72(17), when it knowingly

communicated with Plaintiff between the hours of 9 p.m. and 8 a.m. in the Plaintiff’s time zone

without the prior consent of the Plaintiff.




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        31.     Specifically, Defendant made phone calls to Plaintiff’s cellular telephone on

January 17, 2016 between the hours of 9:00 p.m. and 8:00 a.m. E.S.T. without the prior consent

of Plaintiff.

        WHEREFORE, Plaintiff, JENNIFER MCCAMBRIDGE, demands judgment against

Defendant, COMENITY CAPITAL BANK, for the following relief:

                a.      any actual damages sustained by Plaintiff as a result of the above

allegations;

                b.      statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

$1,000.00;

                c.      pursuant to §559.77(2), any specific or injunctive relief necessary to make

Plaintiff whole;

                d.      in the case of a successful action sustaining the liability of Defendant,

pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attorney’s fees incurred by Plaintiff; and

                e.      any other relief the Court deems just and proper.

                                     COUNT III
                     VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(18)

        32.     Plaintiff incorporates all allegations in paragraphs 1-23 as if stated fully herein.

        33.     Jurisdiction is proper, pursuant to Florida Statute § 559.77(1).

        34.     Defendant violated the FCCPA, Fla. Stat. § 559.72(18), when it knowingly

communicated with Plaintiff after it knew Plaintiff was represented by counsel and could

reasonably ascertain the name and address of counsel.

        35.     Specifically, Defendant continued to place phone calls to Plaintiff’s cellular

telephone despite having actual knowledge that Plaintiff was represented by an attorney.

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       WHEREFORE, Plaintiff, JENNIFER MCCAMBRIDGE, demands judgment against

Defendant, COMENITY CAPITAL BANK, for the following relief:

               a.       any actual damages sustained by Plaintiff as a result of the above

allegations;

               b.       statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

$1,000.00;

               c.       pursuant to §559.77(2), any specific or injunctive relief necessary to

make Plaintiff whole;

               d.       in the case of a successful action sustaining the liability of Defendant,

pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attorney’s fees incurred by Plaintiff; and

               e.       any other relief the Court deems just and proper.

                                    COUNT IV
                    VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(4)

       36.     Plaintiff incorporates all allegations in paragraphs 1-23 as if stated fully herein.

       37.     Jurisdiction is proper pursuant to Florida Statute § 559.77(1).

       38.     Defendant violated Florida Statute § 559.72(4) when it willfully communicated

with Plaintiff’s employer before obtaining final judgment against the Plaintiff and without

permission from Plaintiff to contact her employer.

       39.     Specifically, Defendant continued to make numerous telephone calls to Plaintiff’s

employer without ever having received permission from Plaintiff to contact her employer.

               WHEREFORE, Plaintiff, JENNIFER MCCAMBRIDGE, demands judgment

against Defendant, COMENITY CAPITAL BANK, for the following relief:




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                f.       any actual damages sustained by Plaintiff as a result of the above

allegations;

                g.       statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

$1,000.00;

                h.       pursuant to §559.77(2), any specific or injunctive relief necessary to make

Plaintiff whole;

                i.       in the case of a successful action sustaining the liability of Defendant,

pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attorney’s fees incurred by Plaintiff; and

               j.        any other relief the Court deems just and proper.

                                      COUNT V
                     VIOLATION OF THE TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)

       40.      Plaintiff incorporates all allegations in paragraphs 1-23 as if stated fully herein.

       41.      Jurisdiction is proper pursuant to 47 U.S.C. § 227(b)(3).

       42.      Defendant used an automatic telephone dialing system or an artificial or

prerecorded voice as defined by 47 U.S.C. § 227(a)(1)(A)(iii) to make telephone calls to

Plaintiff’s cellular telephone.

       43.      Defendant independently violated 47 U.S.C. § 227(b)(1)(A)(iii) for each call that

Defendant placed to Plaintiff’s cellular telephone using an automatic telephone dialing system or

an artificial or prerecorded voice.

       44.      The phone calls made by Defendant are considered willing and knowing

violations of the TCPA, as Defendant is well aware of the TCPA and its prohibitions.

       WHEREFORE, Plaintiff, JENNIFER MCCAMBRIDGE, demands judgment against

Defendant, COMENITY CAPITAL BANK, for the following relief:

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              a.      statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) in the amount of

$500.00 for each of the independent violations occurring after January 14, 2016 at 5:51 p.m.;

              b.      an increase in the amount of the award to an amount equal to three times

the amount available pursuant to 47 U.S.C. § 227(b)(3)(B) where each of Defendant’s

independent violations were made willfully or knowingly; and

              c.      any other relief the Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

        Plaintiff demands a trial by jury as to all issues.


Dated this May 2, 2016


                                              BOSS LAW

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